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                            U.S. District Court for the Northern District of Texas
                               Instructions to a Non−Prisoner Pro Se Plaintiff

Your suit SMITH V. CITY OF DALLAS, TEXAS was filed on 12/9/2019 and has been assigned to the
Honorable Ed Kinkeade, case number 3:19−cv−02892−K−BK.

These instructions do not include everything you need to know to pursue your case, but following them may help
you avoid common mistakes that can result in delay or other consequences−including dismissal of your case.

     1. Filing Procedures − The Local Civil Rules include the following requirements:

             ♦ After you have filed your complaint, unless you are excused for cause or the presiding judge
               directs otherwise, you must:

                      ◊ register as an Electronic Case Files (ECF) user within 14 days (you may register online
                        via our website at www.txnd.uscourts.gov), and

                      ◊ file any pleading, motion, or other paper electronically. (Electronic filing is not permitted
                        in a case assigned to the docket of U.S. District Judge John H. McBryde.)

             ♦ You must submit a judge's copy (a paper copy) of any document you file, even if you filed the
               original electronically.

                      ◊ If you electronically file a document, follow the procedures set forth in the ECF
                        Administrative Procedures Manual to provide the judge with the judge's copy.

                      ◊ If you file a document on paper and want a file−stamped copy returned to you, submit
                        the original, the judge's copy, and an extra copy to be returned to you, and provide a
                        self−addressed, postage−paid envelope. The clerk cannot make an extra copy for you
                        unless you first pay a fee of 50 cents per page.

             ♦ You must type or legibly handwrite your documents on one side of numbered pages. Any exhibit
               or discovery material attached to the filing must be referred to in the filing. Any exhibit or
               discovery material not referred to in your filing or not attached to your filing may be returned to
               you.

     2. Address Change − You must notify the Court if your address changes, or your case may be dismissed. If
        you are an ECF user, follow the procedures in the ECF Administrative Procedures Manual to update your
        address. If you are not an ECF user, promptly file a written change of address notice in your case.

     3. Rules to Follow − You must read and follow the Federal Rules of Civil Procedure (FRCP), this court's
        Local Civil Rules, and the orders entered by a judge in your case.

     4. Request for Attorney − In a civil case, you generally are not entitled to a court−appointed attorney to
        represent you without cost to you. If you request a court−appointed attorney, a judge will decide whether
        to appoint an attorney depending on the circumstances of the case. Even if the court decides to appoint an
        attorney, the attorney cannot be forced to accept the appointment. You may call the Lawyer Referral
        Service of the State Bar of Texas at (800) 252−9690 for assistance in securing the services of a private
        attorney to represent you for a fee.

     5. Initial Case Review − If the Court grants leave to proceed in forma pauperis, service of process will be
        withheld pending review of your complaint, and your complaint may be dismissed pursuant to 28 U.S.C.
        § 1915(e)(2).

     6. Copies to Defendant − After a defendant has been served your complaint in compliance with FRCP 4,
        you must serve a copy of any other document you file upon the defendant's attorney (or upon the
        defendant, if the defendant is pro se) as required by FRCP 5. If you and the opposing side are both ECF
        users, the ECF system will complete service for you, and a Certificate of Service is not required. If either
        of you is not an ECF user, or if you learn that service sent through ECF did not reach the person, you
        must serve the document by other means and include a Certificate of Service or file one within a
        reasonable time after service. Sample language for a Certificate of Service is:
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         ♦ On (Date) I filed (the "foregoing document" or Document Name) with the clerk of court for the
           U.S. District Court, Northern District of Texas. I hereby certify that I have served the document
           on all counsel and/or pro se parties of record by a manner authorized by Federal Rules of Civil
           Procedure 5 (b)(2).
                                                                        Signature

 7. Discovery Materials − Do not file discovery materials with the clerk. If you file a motion to compel
    discovery, you may attach only the portions of discovery that are relevant to your motion.

 8. Questions About Your Case − The court's website at www.txnd.uscourts.gov provides valuable
    information. Do not write letters to the judge asking questions about your case − all communication with
    the judge should be through filings. Do not write letters to the clerk asking for instructions on how to
    handle your case, since the clerk is prohibited from giving legal advice.
